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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



  JANE DOE 1, individually and on behalf of
  all others similarly situated,                    Case No. 22-cv-10019-JSR


                        Plaintiffs,                 NOTICE OF APPEARANCE

  v.

  JPMORGAN CHASE BANK, N.A.,

                        Defendant.




TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:


PLEASE TAKE NOTICE that the undersigned hereby enters his appearance as counsel in this

action for defendants JPMorgan Chase Bank, N.A. I certify that I am admitted to practice in this

court.


Dated: New York, New York
       May 30, 2023

                                            Respectfully submitted,

                                            /s/ Christopher Bouchoux
                                            Christopher Bouchoux
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